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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

ADAN GONZALES,

                       Petitioner,

vs.                                                  Case No.        3:11-cv-408-J-34JRK
                                                                     3:08-cr-139-J-34JRK
UNITED STATES OF AMERICA,

                       Respondent.




                                             ORDER

       This case is before the Court on Petitioner Adan Gonzales’ pro se Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody, (Doc. 1; Motion to Vacate), as well as his Memorandum Brief in Support of Pro

Se Motion to Vacate, Set Aside or Correct Sentence By a Person in Federal Custody

Pursuant to (28 U.S.C. § 2255), (Doc. 2; Supporting Memorandum), both filed on April

28, 2011.1 In response, the Government filed the United States’ Motion to Dismiss

Petitioner Gonzales’ Pro Se Motion to Vacate, Set Aside or Correct Sentence Pursuant

to 28 U.S.C. § 2255. (Doc. 8; Motion to Dismiss). Petitioner then filed Petitioner’s

Objection to the Government’s Motion to Dismiss. (Doc. 10; Response). Here, the Court

considers Petitioner’s Motion to Vacate and the Government’s Motion to Dismiss, both

ripe for the Court’s review.



1
  Citations to Petitioner’s criminal case file, 3:08-cr-139-J-34JRK, are denoted as “Crim. Doc. __.”
Citations to Petitioner’s civil § 2255 case file, 3:11-cv-408-J-34JRK, are denoted as “Doc. __.”


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       Pursuant to 28 U.S.C. § 2255 and Rule 8(a) of the Rules Governing Section

2255 Proceedings,2 the Court has considered the need for an evidentiary hearing and

has determined that an evidentiary hearing is not necessary to resolve the merits of this

action. Aron v. United States, 291 F.3d 708, 714–15 (11th Cir. 2002) (indicating that an

evidentiary hearing on a § 2255 petition is not required when the petitioner asserts

allegations that are affirmatively contradicted by the record or patently frivolous, or if in

assuming the facts that he alleges are true, he still would not be entitled to any relief);

Dickson v. Wainwright, 683 F.2d 348, 351 (11th Cir. 1982) (“On habeas a federal district

court need not conduct an evidentiary hearing if it can be conclusively determined from

the record that the petitioner was not denied effective assistance of counsel.”); Patel v.

United States, 252 F. App’x 970, 975 (11th Cir. 2007).3

I.     Background

       On April 17, 2008, the United States returned an indictment against Adan

Gonzales (Gonzales) and three co-defendants, charging Gonzales with one count of

conspiring to distribute five kilograms or more of cocaine, in violation of 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(C), and 846, and one count of willfully and intentionally

possessing with intent to distribute five kilograms or more of cocaine, in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(C). See Indictment at 1–3 (Crim. Doc. 1). Pursuant to

a Plea Agreement, the Government agreed to dismiss count two, the substantive

offense, and Gonzales agreed to plead guilty to count one, the conspiracy offense. See

2
  Rule 8(a) of the Rules Governing Section 2255 Proceedings requires the Court to review the record,
including any transcripts and submitted materials, to determine whether an evidentiary hearing is
warranted before deciding on a § 2255 motion.
3
  Although the Court does not rely on unpublished opinions as precedent, they may be cited throughout
this Order as persuasive authority on a particular point. Rule 32.1 of the Federal Rules of Appellate
Procedure expressly permits the Court to cite to unpublished opinions that have been issued on or after
January 1, 2007. Fed. R. App. P. 32.1(a).

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Plea Agreement at 1–2 (Crim. Doc. 93). The Plea Agreement set forth the elements of

the conspiracy to distribute cocaine offense, the minimum and maximum penalties that

Gonzales faced, and the facts which the Government was prepared to prove if

Gonzales proceeded to trial. Id. at 1–2, 15–18. Significantly, the Plea Agreement also

included a sentence-appeal waiver provision, stating that Gonzales:

       expressly waives the right to appeal [his] sentence or to challenge it
       collaterally on any ground, including the ground that the Court erred in
       determining the applicable guidelines range pursuant to the United States
       Sentencing Guidelines, except (a) the ground that the sentence exceeds
       the defendant’s applicable guidelines range as determined by the Court
       pursuant to the United States Sentencing Guidelines; (b) the ground that
       the sentence exceeds the statutory maximum penalty; or (c) the ground
       that the sentence violates the Eighth Amendment to the Constitution.

Plea Agreement at 10 (emphasis in original).

       On October 30, 2008, Gonzales appeared before the Honorable James R. Klindt,

United States Magistrate Judge, for a change of plea hearing where the Magistrate

Judge conducted a thorough and extensive plea colloquy. See Clerk’s Mins. (Crim. Doc.

91); see generally Plea Tr.4 In the plea colloquy, Judge Klindt covered all of the matters

required by Rule 11 of the Federal Rules of Criminal Procedure, and Gonzales’

responses established that he was aware of the charges, the penalties he faced if

convicted, and his rights. Gonzales acknowledged that he was under oath; that he was

pleading guilty because he was guilty; that his plea was a free, voluntary, and

independent decision; that no one forced, coerced, or threatened him to plead guilty;

and that he was not relying on any agreement, discussion, promise, or understanding

other than those contained in the written Plea Agreement. Id. at 5, 34–35. Gonzales

4
 The transcript of the change of plea hearing is found in the docket for Gonzales’ criminal case (Crim.
Doc. 140) and will be cited here as Plea Tr.

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acknowledged that he had read every page and every word of the Plea Agreement and

that he understood it. Plea Tr. at 19–20. During Gonzales’ plea colloquy, the Magistrate

Judge specifically questioned Gonzales about the paragraph covering his waiver of the

right to appeal and to collaterally challenge his sentence and assessed whether

Gonzales fully understood that he was waiving his right to appeal his sentence:

                      THE COURT: Now normally, Mr. Gonzales, you would have the
                                right to appeal in your sentence on any grounds that
                                you think is appropriate including an incorrect
                                application of the guideline, sentencing guidelines,
                                but under your plea agreement you’re waiving and
                                giving up your right to appeal or otherwise challenge
                                the sentence which is imposed upon you, either
                                directly or collaterally, unless certain specific
                                circumstances are present.

                                   So, in other words, you’re waiving and giving up your
                                   right to appeal or collaterally attack your sentence
                                   unless one of the specific things set out in paragraph
                                   B 5 happen, all right, and those are as follows:

                                   A, the ground that the sentence exceeds the
                                   defendant’s applicable guidelines range . . ; or the
                                   ground that the sentence violates the 8th
                                   Amendment to the Constitution[; or] . . . if the
                                   government exercises its right to appeal, then you’d
                                   be released from this wavier and you could appeal or
                                   file a collateral attack.

                                   Do you understand all of that?

                      THE DEFENDANT: Yes, sir.

Id. at 24–42. The Magistrate Judge also explained the meaning of collateral challenges

to a sentence, asked if Gonzales understood he was waiving his right to collaterally

challenge his sentence including claims of ineffective assistance of counsel at

sentencing, and confirmed with Gonzales that he was making this waiver freely and

voluntarily. Id. at 26–27.

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      In the course of the plea colloquy, Gonzales acknowledged the essential

elements the Government would be required to prove beyond a reasonable doubt if he

proceed to trial on the conspiracy charge offense, Plea Tr. at 15–16. Gonzales’

responses to the Magistrate Judge’s questions established that he was aware of his

constitutional rights, id. at 10–12, and the consequences of his guilty plea, id. at 16–17

(highlighting the minimum and maximum penalties as expressly stated in the Plea

Agreement: “Count 1 is punishable by a mandatory minimum term of imprisonment of

ten years up to life imprisonment . . . .”). Additionally, the Magistrate Judge explained

the discretionary nature of the guidelines, informing Gonzales that the guidelines range

would not be known until after the probation office prepared his pre-sentence report and

that his sentence might be “different than any estimated sentence that [defense

counsel] or anyone else has given you” and it may be “more severe than you expect.”

See Plea Tr. at 13–14. Gonzales answered affirmatively that he understood the

uncertain outcome of his sentence and his inability to appeal it, even if he was unhappy

with the sentence. Id.

      After informing Gonzales of the charges and his rights and confirming that

Gonzales understood all the matters discussed, the Magistrate Judge asked Gonzales:

                    THE COURT: [H]ow do you plead, guilty or not guilty to Count 1 of
                               the indictment?

                    THE DEFENDANT: Guilty.

                    THE COURT: Are you pleading guilty because you are guilty

                    THE DEFENDANT: Yes.

Id. at 28. The Magistrate Judge then asked the Government to provide the factual basis

supporting the guilty plea. The Government proffered the following:

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         a confidential source negotiated with a Manual Nava, a co-conspirator, for the
         purchase of 20 kilograms of powder cocaine. Mr. Nava introduced the
         confidential source to Gonzales, who agreed to the sale of 5 kilograms of cocaine
         at a price of $25,000 per kilogram. Several recorded meetings between Gonzales
         and the confidential source took place prior to the sale. Gonzales provided a 25.2
         gram sample of cocaine to the confidential source during a period of
         negotiations. The confidential source was then instructed to drive with Gonzales
         to the location of the cocaine, the house of Francisco Raygoza, another co-
         conspirator. Once at Raygoza’s house, Miramontes, Raygoza’s nephew and
         another co-conspirator, showed the confidential source three kilograms of
         cocaine in three separate packages. The confidential source was told that the
         remaining two kilograms were in one of the vehicles in the driveway. After arrests
         were made and a search executed at the location, the Government located and
         seized 7.8173 kilograms of cocaine.

Id. at 29–33. Gonzales then confirmed the accuracy of the Government’s proffered

facts:

                      THE COURT: Mr. Gonzales, is this what you did, in terms of what
                                 was stated here about you, is that what you did?

                      THE DEFENDANT: Yes.

Id. at 33. Gonzales further admitted to the personalization of the elements, id., and

affirmed that “the object of the unlawful plan was to distribute cocaine, a schedule II

controlled substance, the amount of cocaine being 5 kilograms or more, as charged in

the indictment.” Id. at 34. At the conclusion of the plea colloquy, the Magistrate Judge

recommended that the Court accept Gonzales’ guilty plea, and the Court did so on

November 5, 2008. Id. at 37–38; see Acceptance of Plea of Guilty, Adjudication of Guilt,

and Notice of Sentencing (Crim. Doc. 96).

         After continuing Gonzales’ sentencing at his request, the Court scheduled the

sentencing to proceed on April 1, 2009. See Order (Crim. Doc. 102). At the sentencing,

the Court determined that Gonzales’ advisory guidelines, by operation of the career

offender guideline, were a total offense level of 34 with a criminal history category of VI,



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yielding a guideline term of imprisonment of 262 months to 327 months. Gonzales’

counsel argued that Gonzales’ advisory guideline range by virtue of the application of

the career offender guideline was simply too high, and urged the Court to impose a

below guideline sentence.

       [I]t’s two cases, two prior cases. And unfortunately, that’s what qualifies
       him. But I think . . . all of the things we’ve heard about how Adan grew up,
       how hard he worked, his support his stepson, . . . I think those things all
       speak very well of him. And I think that it would be appropriate and
       reasonable to sentence him to the ten-year minimum mandatory. This
       career offender, in this case, I just think it’s too extreme.

       ....

       Under the guidelines, if you believe that his criminal history is
       overrepresented by the career offender enhancement, you can move one
       category to the left in his criminal history, from a VI to a V. But then I think
       under 3553 you look at all of the factors, including how he was raised, how
       he participated in working in the fields with his parents and sisters and
       brothers and lived the life that his sister Anna described. Those are all
       things I think that you can take into account after correctly calculating the
       guidelines.

       Id. at 48–49.

       [A]ll of the objectives that we seek to achieve through sentencing are met
       in this case with a ten-year sentence . . . he deserves a sentence that’s
       less than what the career offender guidelines are calling for. His whole
       criminal history is two paragraphs.

Id. at. 52. In contrast, the Government argued that the Court should look at the timing

and pattern of Gonzales’ prior offenses, and sentence Gonzales in accordance with the

guidelines. Id. at 10–11.

       Ultimately, after considering the information provided by Gonzales and his

attorney, including Gonzales’ personal history and characteristics, his hard work, and

his commitment to his family, the Court sentenced Gonzales to 200 months




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imprisonment, id. at 53–54;5 Judgment at 2–3 (Crim. Doc. 126), which constituted a

downward variance from the advisory guidelines range, see PSR ¶ 58. The Court

further explained:

                There’s no question that in this case there is a sentence, a need for
        a sentence that reflects the seriousness of that offense and protects the
        public. But the Court is of the view that a sentence of 200 months, which I
        think is about 16 and a half years, is entirely adequate to accomplish all of
        those things; and that a sentence of close to 22 years, which is what is
        called for by the guidelines, would be an unreasonably long sentence
        based upon the - - this individual’s criminal history, his personal history
        and the offense. It is a sentence greater than the sentence imposed with
        regard to the codefendants. But that is called for, for precisely the reason
        that the prosecution suggested, and that is that Mr. Gonzales, unlike the
        codefendants, has had prior drug convictions and has had – should have
        learned from those prior drug convictions not to engage in this behavior.

Id. at 55.

        On April 15, 2009, Gonzales’ counsel filed an Anders Brief,6 and on December 4,

2009, after reviewing the entire record, the Court of Appeals for the Eleventh Circuit

affirmed Gonzales’ conviction and sentence and permitted Gonzales’ counsel to

withdraw. Gonzales filed the instant Motion to Vacate, on April 21, 2011, asserting that

the Government coerced him to plead guilty by fabricating evidence about the drug

quantity. See Motion to Vacate at 10–12. Gonzales also claims that his counsel

rendered ineffective assistance by failing to adequately investigate the evidence, failing

to advise him that he would be sentenced as a career offender, and failing to argue for a

lesser sentence. Id. at 13–25. The Government moved to dismiss the Motion to Vacate,




5
 The transcript of the sentencing hearing is found in the docket for Gonzales’ criminal case (Crim. Doc.
141) and will be cited here as Sentencing Hearing Tr.
6
 In Anders v. California, 386 U.S. 738 (1967), the Supreme Court held, counsel may be permitted to
withdraw if the court affirms, based on counsel’s submitted brief, that counsel’s case is wholly frivolous.
An Anders brief is commonly referred to as a no merits brief.

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see Motion to Dismiss at 2–6, and Gonzales filed a Response to that motion, see

Response.

II.    Applicable Law

       Pursuant to Title 28, United States Code, Section 2255, a person in federal

custody may move to vacate, set aside, or correct his sentence. Section 2255 permits

such collateral challenges on four specific grounds: (1) the imposed sentence was in

violation of the Constitution or laws of the United States; (2) the court did not have

jurisdiction to impose the sentence; (3) the imposed sentence exceeded the maximum

authorized by law; or (4) the imposed sentence is otherwise subject to collateral attack.

28 U.S.C. § 2255(a) (2006). Only jurisdictional claims, constitutional claims, and claims

of error that are so fundamentally defective as to cause a complete miscarriage of

justice will warrant relief through collateral attack. United States v. Addonizio, 442 U.S.

178, 184–86 (1979); United States v. Teague, 953 F.2d 1525, 1534 n.11 (11th Cir.

1992) (explaining that a petitioner’s challenge to his sentence based on a Sixth

Amendment claim of ineffective assistance of counsel is normally considered in a

collateral attack).

       A petitioner’s right to directly or collaterally challenge his sentence, even when

alleging ineffective assistance claims, may be barred when the petitioner effectively

waives that right pursuant to a plea agreement. Williams v. United States, 396 F.3d

1340, 1341–42 (11th Cir. 2005) (holding that a valid sentence-appeal waiver precluded

a subsequent collateral attack based on a claim of ineffective assistance of counsel

during sentencing), cert. denied, 546 U.S. 902 (2005). The Eleventh Circuit reasoned

that “a contrary result would permit a defendant to circumvent the terms of the



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 sentence-appeal waiver simply by recasting a challenge to his sentence as a claim of

 ineffective assistance, thus rendering the waiver meaningless.” Id. at 1342. To be

 enforceable such that a plea agreement’s sentence-appeal waiver will bar a § 2255

 challenge, the waiver must be made knowingly and voluntarily. See Williams, 396 F.3d

 at 1341 (citing United States v. Bushert, 997 F.2d 1343, 1350–51 (11th Cir. 1993)). To

 establish that a waiver was made knowingly and voluntarily, the Government must

 demonstrate either that: (1) the district court specifically questioned the petitioner

 regarding the sentence-appeal waiver during the plea colloquy, or (2) the record clearly

 shows that the petitioner otherwise understood the waiver’s full significance. Notably,

 there is a strong presumption that statements made under oath during a plea colloquy

 are true, see United States v. Medlock, 12 F.3d 185, 187 (11th Cir. 1994), and a

 petitioner bears a heavy burden in showing them to be false, see United States v.

 Rogers, 848 F.2d 166, 168 (11th Cir. 1988); see also United States v. Stitzer, 785 F.2d

 1506, 1514 n.4 (11th Cir. 1986) (giving considerable weight to the policy that if the “plea

 taking procedure is careful and detailed, the [petitioner] will not later be heard to

 contend that he swore falsely”). Consequently, a petitioner’s representations in a plea

 colloquy may constitute a “formidable barrier in any subsequent collateral proceedings.”

 Blackledge v. Allison, 431 U.S. 63, 73–74 (1977); Thompson v. Wainwright, 787 F.2d

 1447, 1460–61 (11th Cir. 1986).

        Nevertheless, a sentence-appeal waiver will not bar certain Sixth Amendment

 ineffective assistance of counsel claims from being considered pursuant to § 2255.

 When a petitioner alleges an ineffective assistance of counsel claim that challenges the

 validity or voluntariness of the plea or waiver itself, such as a claim that counsel coerced



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 or misadvised petitioner prior to entry of the plea, then the sentence-appeal waiver will

 not bar a court from hearing the merits of the claim. See Baird v. United States, 445 F.

 App’x 252, 254 (11th Cir. 2011) (per curiam) (noting that despite a sentence-appeal

 waiver, collateral attack through an ineffective assistance claim is permitted when “the

 movant challenges the knowing and voluntary nature of the plea”)7; see also Patel v.

 United States, 252 F. App’x 970, 971, 974-75 (11th Cir. 2007) (per curiam) (finding that

 the district court erred in dismissing, based on a sentence-appeal waiver, petitioner’s

 claim that counsel misadvised him prior to pleading guilty); Cowart v. United States, 139

 F. App’x 206, 207-08 (11th Cir. 2005) (per curiam) (holding that a sentence-appeal

 waiver that only expressly limits a petitioner from collaterally challenging his “sentence”

 does not bar an ineffective assistance claim that challenges the validity of his plea or

 the sentence-appeal waiver itself).           Therefore, despite the presence of a sentence-

 appeal waiver, the Court must address the merits of a § 2255 petitioner’s claim of

 ineffective assistance if it challenges the validity of the plea or waiver. Id.

         As with any Sixth Amendment ineffective assistance of counsel claim, a § 2255

 petitioner who claims counsel’s ineffective assistance undermined the validity of his

 guilty plea, must demonstrate both: (1) that his counsel’s alleged conduct amounted to

 constitutionally deficient performance and (2) that his counsel’s deficient performance

 caused sufficient prejudice. Strickland v. Washington, 466 U.S. 668, 687 (1984); Hill v.


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   In Baird, the Eleventh Circuit addressed the merits of the petitioner’s ineffective assistance claim
 challenging the validity of both his plea and sentence-appeal waiver. See Baird, 445 F. App’x at 253-54.
 The petitioner alleged that he unknowingly and involuntarily entered a guilty plea due to his counsel’s
 failure to properly explain to him the terms of his waiver in his plea agreement. Id. The court held that
 the petitioner was not entitled to relief because he did not show sufficient prejudice, namely, that there
 was a reasonable probability he would not have pleaded guilty if counsel had explained the terms of the
 waiver. Id. (finding that the petitioner’s decision to plead guilty was primarily driven by the government’s
 agreement not to forfeit his property, and that counsel’s explanation of the waiver would not have
 deterred his plea.).

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 Lockhart, 474 U.S. 52, 58 (1985) (applying the two-part Strickland test to ineffective

 assistance claims arising out of the plea process); Weeks v. Jones, 26 F.3d 1030, 1036

 (11th Cir. 1994). In determining whether the petitioner has satisfied the first prong, that

 his counsel’s conduct was deficient performance, the Court adheres to the standard of

 reasonably effective assistance. Weeks, 26 F.3d at 1036. The petitioner must show that

 counsel’s performance, in light of all of the circumstances, fell outside the “wide range of

 professionally competent assistance.” Id. Indeed, “counsel is strongly presumed to have

 rendered adequate assistance,” Strickland, 466 U.S. at 690, and to rebut that

 presumption and demonstrate that counsel’s performance was unreasonable, “[t]he

 burden of persuasion is on a petitioner to prove, by a preponderance of competent

 evidence.” Chandler v. United States, 218 F.3d 1305, 1314 (11th Cir. 2000) (en banc)

 (citing Strickland, 466 U.S. at 688). This burden of persuasion, though not

 insurmountable, is a heavy one. See id. at 1314–15 (citing Kimmelman v. Morrison, 477

 U.S. 365 (1986)). If the record is incomplete or unclear about counsel's actions, then it

 is presumed that counsel exercised reasonable professional judgment. See id. at 1314

 n.15. To satisfy the second prong, that counsel’s deficient performance sufficiently

 prejudiced the defendant, the petitioner must demonstrate that there is a reasonable

 probability that, but for counsel’s error, the result of the proceeding would have been

 different. Id. at 1036–37 (citing Strickland, 466 U.S. at 694). In determining whether a

 petitioner has met both requirements of deficient performance and prejudice to warrant

 relief, the Court considers the totality of the evidence. Strickland, 466 U.S. at 695.

 However, because both prongs are necessary, “there is no reason for a court . . . to

 approach the inquiry in the same order or even to address both components of the



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 inquiry if the defendant makes an insufficient showing on one.” Id. at 697; see also

 Wellington v. Moore, 314 F.3d 1256, 1261 n. 1 (11th Cir. 2002) (“We need not discuss

 the performance deficiency component of [petitioner’s] ineffective assistance claim

 because failure to satisfy the prejudice component is dispositive.”).

        When evaluating counsel’s advice regarding the entry of a plea, the question is

 not “whether a court retrospectively consider[s] counsel’s advice to be right or wrong,”

 but rather “whether the advice was within the range of competence demanded of

 attorneys in criminal cases.” McMann v. Richardson, 397 U.S. 759, 769–71 (1970)

 (concluding that a guilty plea based on “reasonably competent advice” is “not open to

 attack on the ground that counsel may have misjudged the admissibility of the

 defendant’s confession”). The Supreme Court has explained:

        [T]he decision to plead guilty before the evidence is in frequently involves
        the making of difficult judgments. All of the pertinent facts normally cannot
        be known unless witnesses are examined and cross-examined in court.
        Even then the truth will often be in dispute. In the face of unavoidable
        uncertainty, the defendant and his counsel must make their best judgment
        as to the weight of the State’s case. Counsel must predict how the facts as
        he understands them, would be viewed by a . . . judge or jury . . . .
        Waiving trial entails the inherent risk that the good faith evaluations of a
        reasonably competent attorney will turn out to be mistaken either as to the
        facts or as to what a court’s judgment might be on given facts.

 Id. at 769, 770. Thus, when a client pleads guilty, counsel need only provide his client

 with an understanding of the law in relation to the facts, so that the accused may make

 an informed and conscious choice between accepting the prosecution's offer and going

 to trial. Walker v. Caldwell, 476 F.2d 213, 218 (5th Cir. 1973).8 To provide this

 understanding to the accused, counsel must, make an independent examination of the

 case and offer his informed opinion as to the best course to be followed in protecting the

 8
  Decisions by the former Fifth Circuit issued before October 1, 1981, are binding as precedent in the
 Eleventh Circuit. See Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).

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 interests of his client. Id. at 217 (quoting Von Moltke v. Gillies, 332 U.S. 708, 721

 (1948)).

        The right to competent plea bargain advice is at best a privilege that
        confers no certain benefit. An accused may make a wise decision even
        without counsel's assistance, or a bad one despite superior advice from
        his lawyer. The Supreme Court has commented that the unpleasant
        choice is one the defendant ultimately must make for himself, and that the
        decision is often inescapably grounded on uncertainties and a weighing of
        intangibles.

 Wofford v. Wainwright, 748 F.2d 1505, 1508 (11th Cir. 1984). To establish the prejudice

 prong in a claim of ineffective assistance during the plea proceeding, the petitioner must

 show that but for the alleged ineffective advice, the petitioner would not have pleaded

 guilty and would have proceeded to trial. See Hill, 474 U.S. at 59. The Supreme Court

 has noted that considerations, such as the defendant’s appraisal of the prosecution’s

 case and the apparent likelihood of securing leniency with a guilty plea, frequently

 present imponderable questions for which there are no certain answers. Brady v. United

 States, 397 U.S. 742, 756 (1970). As such, the Court has instructed that “[t]he rule that

 a plea must be intelligently made to be valid does not require that a plea be vulnerable

 to attack if the defendant did not correctly assess every relevant factor entering into his

 decision.” Id. at 757.

 III.   Discussion

        Gonzales contends that he was denied due process because the Government

 allegedly “fabricated evidence against [him] which forced [him] to enter an involuntary

 guilty plea.” See Supporting Memorandum at 10–12. Additionally, Gonzales alleges that

 his counsel rendered ineffective assistance resulting in Gonzales entering an

 involuntary and unknowing guilty plea. Id. at 13–25. The Government argues that both



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 claims are barred, having been effectively waived pursuant to the sentence-appeal

 waiver outlined in his Plea Agreement. See Motion to Dismiss at 5–6. However,

 because Gonzales’ claims are presented as a challenge to the validity of the plea, this

 Court will first address his ineffective assistance claim on the merits. See Patel, 252 F.

 App’x at 974–75. Then, the Court will turn to his due process claim.

       A.     Ineffective Assistance of Counsel

       Gonzales alleges that his counsel: (1) failed to adequately investigate the

 evidence supporting the amount of cocaine, which he contends forced him to plead

 guilty, see Supporting Memorandum at 13–20, (2) failed to advise Gonzales that he

 would be sentenced as a career offender, which he contends rendered his plea

 unknowing, id. at 20–22, and (3) failed to adequately investigate and present argument

 that Gonzales’ criminal history category be reduced, which he contends caused him

 prejudice, id. at 22–25. On review of the record, the Court concludes that Gonzales

 knowingly and voluntarily waived his right to collaterally challenge his sentence

 including his right to question the representation and advice he received from his

 defense counsel.

       The Magistrate Judge specifically questioned Gonzales on whether he knowingly

 and voluntarily waived his right to appeal his sentence, including waiving any claim that

 the court erred in computing the Sentencing Guidelines, and Gonzales answered

 affirmatively. See Plea Tr. at 24–25. Gonzales acknowledged that his waiver applied to

 direct appeals, as well as collateral attacks on his sentence, and that the waiver

 included ineffective assistance of counsel claims relating to counsel’s assessment of the

 guidelines. See id. at 26–27. Based upon Gonzales’ sworn statements during the plea



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 colloquy, see Medlock, 12 F.3d at 187 (applying a “strong presumption of veracity” to

 statements made under oath during the plea proceeding), the Court finds that Gonzales

 freely, voluntarily, knowingly and intelligently pleaded guilty pursuant to the Plea

 Agreement. See Blackledge, 431 U.S. at 73–74 (explaining that a petitioner’s

 representations in a plea colloquy may constitute a “formidable barrier in any

 subsequent collateral proceedings”). Therefore, Gonzales effectively waived his right to

 appeal or challenge his sentence and that his waiver is valid and enforceable. As such,

 any ineffective assistance of counsel claims are due to be dismissed unless the claimed

 assistance directly affected the validity of the waiver or the plea itself. See Cowart, 139

 F. App’x at 207–08; Patel, 252 F. App’x at 975; Baird, 445 F. App’x at 254.

               i.     Adequate Investigation

        In his Motion to Vacate, Gonzales contends that his counsel rendered ineffective

 assistance when he failed to investigate the Government’s evidence concerning the

 amount of cocaine, see Supporting Memorandum at 13–20, and argues that this failure

 coerced him to plead guilty, id. at 19. In support of this claim, Gonzales provides an

 affidavit from a co-conspirator involved in the offense, contending that the offense

 involved only three kilograms, not the five kilograms alleged in the indictment. See

 Supporting Memorandum, affidavit at 1–2. Although Gonzales claims to have told his

 attorney about the drug quantity defense, Id. at 19, this contention is conclusively

 rebutted by the record which reflects that Gonzales specifically affirmed the quantity of

 cocaine alleged in the indictment. Indeed, the quantity of cocaine was specifically set

 forth in the Plea Agreement, and Gonzales affirmed the quantity of cocaine under oath

 during the plea colloquy. Gonzales’ claim regarding his counsel’s performance also



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 conflicts with Gonzales’ sworn statement that he was satisfied with his attorney’s

 representation and had no complaints about the representation. See Plea Tr. at 36. See

 Medlock, 12 F.3d at 187; Blackledge, 431 U.S. at 73–74. Neither Gonzales’ current

 contentions nor his co-conspirator’s affidavit undermine the weight of Gonzales’ sworn

 testimony where he admitted the drug quantity and confirmed that he was knowingly

 and voluntarily pleading guilty and agreeing to the sentence-appeal waiver provision.

 See, e.g., Neston v. United States, No. 6:09-cv-1746, 2010 WL 5463091, at *3 (M.D.

 Fla. Dec. 29, 2010) (holding that a valid sentence-appeal waiver precluded claims

 arguing ineffective assistance of counsel for failing to challenge evidence, investigate

 case prior to sentencing, or move for a downward departure at sentencing).

        Nevertheless, this Court will address the merits of this ineffective assistance

 claim. “[P]articular decision[s] not to investigate must be directly assessed for

 reasonableness in all the circumstances, applying a heavy measure of deference to

 counsel’s judgments.” Williams v. Head, 185 F.3d 1223, 1236 (11th Cir. 1999) (quoting

 Strickland, 466 U.S. at 691). In evaluating the reasonableness of an attorney’s decision,

 the defendant’s own statements or actions that may have influenced the decision are

 considered. Bertolotti v. Dugger, 883 F.2d 1503, 1512 (11th Cir. 1989). In this case,

 counsel’s decision not to investigate the quantity was reasonable because Gonzales

 admitted to the proffered evidence. See Weeks, 26 F. 3d at 1036 (analyzing the facts at

 the time of counsel’s conduct and from counsel’s perspective); Williams, 185 F.3d at

 1237 (“An attorney does not render ineffective assistance by failing to discover

 [evidence] that his client does not mention to him.”). The co-conspirator’s affidavit, while

 favorable to Gonzales’ new account of the facts, does not negate the Government’s



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 case. Indeed, the Government’s evidence also involved several other witnesses,

 including the confidential source and several on-scene agents, who would all testify that

 the drug transaction involved more than five kilograms of cocaine, Plea Tr. at 29–33,

 recordings of the transaction and surrounding discussions, id. at 29, and the total

 quantity of seized cocaine, 7.8173 kilograms, id. at 33. In the face of the Government’s

 proffered evidence, counsel’s actions were objectively reasonable.

        Also, Gonzales does not claim that this alleged evidence would have been found

 had counsel investigated further prior to the plea. This Court notes that the affidavit

 submitted by Francisco Raygoza flatly contradicts Raygoza’s statements at his change

 of plea hearing held on September 25, 2008. Plea Hearing Transcript at 37–38, 43

 (Crim. Doc. 129). At Raygoza’s change of plea hearing, Raygoza was placed under

 oath, id. at 4–5, and entered a plea of guilty to one count of conspiring to distribute five

 kilograms or more of cocaine, admitting to the factual basis which reflected five

 kilograms or more of cocaine. Id. at 37–38, 43 (Crim. Doc. 129). Raygoza stated that

 his plea was his own independent decision and that he was not forced, threatened, or

 coerced in any way. Id. at 45. Thus, under the circumstances known to counsel at the

 time of the plea, it was not unreasonable not to further investigate.

        Moreover, other than the bald assertion that he would have proceeded to trial,

 Supporting Memorandum at 19–20, Gonzales has not shown that there is a reasonable

 probability that, but for counsel’s allegedly deficient performance, Gonzales would not

 have pled guilty, especially considering the potentially greater incarceration he would

 have faced. See Hill, 474 U.S. at 59 (The standard is whether the “discovery of the

 evidence would have led counsel to change his recommendation as to the plea, [which]



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 . . . depend[s] in large part on a prediction whether the evidence likely would have

 changed the outcome of a trial.”). The affidavit from Gonzales’ co-conspirator does

 nothing to undermine the rest of the Government’s evidence nor does it undermine the

 veracity of Gonzales’ sworn statements at the change of plea hearing where he

 admitted the quantity. Therefore, the Court concludes that Gonzales’ first claim of

 ineffective assistance of counsel is refuted by the record and due to be denied.

                 ii.     Advice concerning career offender enhancement

         Gonzales next asserts that counsel rendered ineffective assistance because he

 failed to advise Gonzales “of the potential application of the career offender provisions.”

 See Supporting Memorandum at 20. This claim relates to advice prior to entering the

 plea, therefore, the Court will address the merits of this ineffective assistance claim.

         Pretermitting Gonzales’ allegation that his counsel did not advise him of the

 career offender enhancement,9 Gonzales has not shown prejudice. Gonzales does not

 directly contend that this advice would have changed his decision to plead guilty.

 Instead, Gonzales asserts he would have “been in a better position to make a

 reasonable decision.” See Supporting Memorandum at 21.10 However, during the plea

 colloquy, the Magistrate Judge emphasized the Court’s ability to depart from the then-

 undetermined guidelines range at sentencing and “impose any sentence up to and

 including the maximum penalty permitted by law,” see Plea Tr. at 13, and specifically


 9
  The Eleventh Circuit has held that failure to advise a defendant of eligibility as a career offender is not
 per se deficient and must be considered based upon the facts and circumstances of each case. United
 States v. Pease, 240 F.3d 938, 941–42 (11th Cir. 2001).
 10
   Gonzales does state, if he had “known that he was to be charged with over 5 kilograms of cocaine,
 enhanced according to the [career offender provisions], and that the agents coerced his co-defendant to
 make false statements, he would have proceeded to trial. See Supporting Memorandum at 22. However,
 Gonzales never asserts that the allegedly missing information concerning the career offender
 enhancement would have led him to change his plea decision and proceed to trial.

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 discussed those maximum penalties with Gonzales. Thus, Gonzales understood the

 potential penalties he faced based on a guilty plea. Because Gonzales “knew that there

 was a possibility that he could receive the sentence that was imposed, his

 disappointment with the result is not grounds to set aside the guilty plea.” Tahamtani v.

 Lankford, 846 F.2d 712, 714 (11th Cir. 1988) (per curiam); see also United States v.

 Himick, 139 F. App’x 227, 229 (11th Cir. 2005) (“[A] defendant's reliance on an

 attorney's mistaken impression about the length of [the] sentence [including the

 applicability of a career offender enhancement] is insufficient to render a plea

 involuntary as long as the court informed the defendant of [the] maximum possible

 sentence . . . .”). Additionally, the Court notes that the evidence against Gonzales was

 quite strong, and if Gonzales was found guilty at trial, the career offender enhancement

 would still have applied and his guidelines range was likely to have been 360-life

 because he would not have received the three-level reduction for acceptance of

 responsibility promised in the Plea Agreement.

       Gonzales also contends that counsel assured him that if he pleaded guilty, “he

 was only to face a sentence of ten years or less.” See Supporting Memorandum at 21.

 This claim that he was not properly informed about the true consequences attendant to

 his guilty plea is affirmatively contradicted by the record. See Medlock, 12 F.3d at 187;

 Blackledge, 431 U.S. at 73–74 (explaining that plea colloquy statements may constitute

 a “formidable barrier in any subsequent collateral proceedings”). Both the written Plea

 Agreement and the Magistrate Judge specifically informed Gonzales that ten years was

 the minimum sentence he would receive based on his guilty plea, Plea Tr. at 13, and

 Gonzales acknowledged that the sentence he would receive might be “different than



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 any estimate[]” and it might be “more severe” than he expected. Id. at 13–14. On this

 record, the Court concludes that Gonzales’ second claim of ineffective assistance of

 counsel is due to be denied because he cannot show that but for this allegedly missing

 advice, he would have changed his plea decision and proceeded to trial. See Hill, 474

 U.S. at 59; Strickland, 466 U.S. at 695 (finding that both prongs do not need to be

 addressed where the defendant makes an insufficient showing on one).11

                 iii.     Argument at sentencing

         In his last claim, Gonzales argues that counsel performed deficiently by “fail[ing]

 to zealously advocate on his behalf” at sentencing when counsel did not advocate for

 Gonzales’ “criminal history category to be moved from a category six to a category five

 according to U.S.S.G. § 4A1.3(b)(1),” and his attorney did not request a horizontal

 departure. See Supporting Memorandum at 23. This claim of ineffective assistance,

 even if true, does not undermine the validity of Gonzales’ Plea Agreement and the

 attendant sentence-appeal waiver provision. See, e.g., Williams, 396 F.3d at 1342

 (holding that a valid sentence-appeal waiver, entered into voluntarily and knowingly,

 pursuant to a plea agreement, precludes the defendant from attempting to attack, in a

 collateral proceeding, the sentence through a claim of ineffective assistance of counsel

 during sentencing). As such, the claim is barred from collateral attack.

         11
            Gonzales also briefly mentions that his counsel told him he would “handle” the career offender
 enhancement and advised Gonzales that he would file an appeal, but instead filed an Anders brief. See
 Supporting Memorandum at 21. The Court has already concluded that Gonzales knowingly and
 voluntarily agreed to the sentence-appeal waiver, which “includes a waiver of the right to appeal difficult
 or debatable legal issues-indeed, it includes a waiver of the right to appeal blatant error.” Howle, 166 F.3d
 at 1169. The alleged deficient conduct about which Gonzales complains here arose after the plea, thus,
 this claim does not attack the validity of the plea or the waiver. Nonetheless, the Court concludes that
 Gonzales’ counsel cannot be said to have engaged in deficient conduct for failing to file an appeal due to
 the presence of the sentence-appeal waiver. Counsel filed an Anders brief and the Eleventh Circuit Court
 of Appeals, after an independent review of the record, identified no appealable error and affirmed the
 conviction.


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       Nevertheless, the Court notes that Gonzales’ claim that his attorney did not

 argue for reduction of his criminal history category is refuted by the record because his

 counsel did advocate for both a horizontal and a vertical downward departure.

 Gonzales’ counsel argued in his sentencing memorandum and at the sentencing

 hearing that the application of the career offender guideline resulted in an over

 representation of Gonzales’ criminal history. See Sentencing Memorandum and

 Request for Downward Departure at 3–8 (Crim. Doc. 123); Sentencing Hearing Tr. at

 47–52; see Medlock, 12 F.3d at 187; Blackledge, 431 U.S. at 73–74. Additionally,

 counsel argued that the Court should vary downward from the applicable guidelines.

                     DEFENSE COUNSEL: . . . . And I think that it would be appropriate
                               and reasonable to sentence him to the ten-year
                               minimum mandatory. This career offender, in this
                               case, I just think it's just too extreme.

                     THE COURT: Mr. Fletcher, you realize that even absent the career
                                offender, the operation of the career offender
                                guideline, Mr. Gonzales would be facing 168 to 210
                                months just based on the offense?

                     DEFENSE COUNSEL: You know, Judge, I thought it was 97 to
                               121.

                     THE COURT: Total offense level 34, criminal history category II.

                     DEFENSE COUNSEL: That's with the career offender.

                     THE COURT: No, career offender is criminal history category VI.

                     DEFENSE COUNSEL: I'm sorry.

                     THE COURT: Oh, well, the offense level.

                     DEFENSE COUNSEL: Yeah, he moved from a 29 to a 34. So I
                               think it was 97 to 121. So without the career offender
                               enhancement, but with his criminal history without
                               the enhancement, he was looking at basically the
                               ten-year minimum mandatory.

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 Sentencing Hearing Tr. at 48–49. As a result of these arguments, the Court ultimately

 varied from the suggested guidelines range of 262–327 months and sentenced

 Gonzales to 200 months. Sentencing Hearing Tr. at 53; Judgment at 2–3 (Crim. Doc.

 126). Accordingly, this ineffective assistance claim would be denied on the merits.

        B.     Denial of Due Process

        Gonzales also asserts that his due process rights were violated, contending that

 the Government “committed prosecutorial misconduct . . . by fabricating evidence

 against him.” See Supporting Memorandum at 10. In the Motion to Dismiss, the

 Government argues that Gonzales effectively waived this challenge to his sentence

 pursuant to the sentence-appeal waiver in his Plea Agreement. See Motion to Dismiss

 at 5. The Court agrees and finds that Gonzales is barred from asserting this claim as he

 knowingly and voluntarily pled guilty and waived the right to collaterally attack his

 sentence on this ground.

        Sentence-appeal waivers such as that involved here “will be enforced in almost

 all circumstances.” United States v. Garcia, 213 F. App’x 817, 821 (11th Cir. 2007)

 (citing Bushert, 997 F.2d at 1350). Indeed, a defendant may waive “the right to appeal

 difficult or debatable legal issues,” including blatant error, and not just frivolous claims.

 United States v. Howle, 166 F.3d 1166, 1169 (11th Cir. 1999). Here, Gonzales

 knowingly and voluntarily waived the right to collaterally challenge his sentence on any

 ground except: (1) if his sentence exceeds his applicable guideline range as determined

 by the Court; (2) if it exceeds the statutory maximum penalty; and (3) if it violates the

 Eighth Amendment. Plea Tr. at 25–26; Plea Agreement at 10. Gonzales’ due process

 claim does not fall within any of these exceptions, and is therefore barred from being

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 raised in this proceeding. Howle, 166 F.3d at 1168; See, e.g., United States v. Wilson,

 445 F. App’x 203, 204–05, 207–09 (11th Cir. 2011) (per curiam) (enforcing petitioner’s

 sentence-appeal waiver by its terms by dismissing certain collateral challenges that did

 not fall within the three exceptions to the waiver). Ferrara v. United States, 456 F.3d

 278, 291 (1st Cir. 2006) (“But a plea is not rendered infirm merely because [the

 defendant] discovers long after the plea has been accepted that his calculus

 misapprehended the quality of the [government's] case.” (internal quotations omitted));

 Nguyen v. United States, 114 F.3d 699, 105 (8th Cir. 1997) (“Considering all the

 circumstances, the allegedly withheld exculpatory material ‘did not compromise either

 the truth or the voluntary and knowing nature of the plea.’” (quoting Campbell v.

 Marshall, 769 F.2d 314, 323–24 (6th Cir. 1985), cert. denied, 475 U.S. 1048 (1986)).

 Accordingly, Gonzales’ collateral claim is due to be denied as having been effectively

 waived.

 IV.    Certificate of Appealability Pursuant to 28 U.S.C. § 2253 (c)(1)

        If Gonzales seeks issuance of a certificate of appealability, the undersigned

 opines that a certificate of appealability is not warranted. This Court should issue a

 certificate of appealability only if the petitioner makes "a substantial showing of the

 denial of a constitutional right."   28 U.S.C. § 2253 (c)(2). To make this substantial

 showing, Gonzales "must demonstrate that reasonable jurists would find the district

 court's assessment of the constitutional claims debatable or wrong," Tennard v. Dretke,

 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)), or that

 "the issues presented were 'adequate to deserve encouragement to proceed further,'"




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 Miller-El v. Cockrell, 537 U.S. 322, 335–36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

 880, 893 n.4 (1983)).

        Where a district court has rejected a petitioner's constitutional claims on the

 merits, the petitioner must demonstrate that reasonable jurists would find the district

 court's assessment of the constitutional claims debatable or wrong. See Slack, 529

 U.S. at 484.       However, when the district court has rejected a claim on procedural

 grounds, the petitioner must show that "jurists of reason would find it debatable whether

 the petition states a valid claim of the denial of a constitutional right and that jurists of

 reason would find it debatable whether the district court was correct in its procedural

 ruling."    Id.   Upon consideration of the record as a whole, this Court will deny a

 certificate of appealability.

        As such, and in accordance with the Rules Governing Section 2255 Cases in the

 United States District Courts, it is hereby

        ORDERED:

        1.         The Government’s Motion to Dismiss Petitioner’s Pro Se Motion to

 Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (Doc. 12) is

 GRANTED.

        2.         Gonzales’ Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

 Sentence by a Person in Federal Custody (Doc. 1) is DENIED.

        3.         The Clerk shall enter judgment in favor of the Government and against

 Gonzales, and close the file.




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       4.     If Gonzales appeals the denial of the Petition, the Court denies a

 certificate of appealability. Because this Court has determined that a certificate of

 appealability is not warranted, the Clerk shall terminate from the pending motions report

 any motion to proceed on appeal as a pauper that may be filed in this case. Such

 termination shall serve as a denial of the motion.

       DONE AND ORDERED in Jacksonville, Florida, this 11th day of July, 2014.




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 Copies to:
 Counsel of Record
 Petitioner




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